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                               Rep. Ex.
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     GUBAREV vs BUZZFEED                                                       1

·1

·2· · · ·IN THE UNITED STATES DISTRICT COURT

·3· · · · · · SOUTHERN DISTRICT OF FLORIDA

·4

·5· · ALEKSEJ GUBAREV, XBT HOLDING· ·)Case No.
· · · S.A., AND WEBZILLA, INC.,· · · )17-CV-60426-
·6· · · · · · · · · · · · · · · · · ·)UU
· · · · · · · · · Plaintiffs,· · · · )
·7· · · · · · · · · · · · · · · · · ·)
· · · · · · · ·vs.· · · · · · · · · ·)
·8· · · · · · · · · · · · · · · · · ·)
· · · BUZZFEED, INC. AND BEN· · · · ·)
·9· · SMITH,· · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · ·)
10· · · · · · · · Defendants.· · · · )
· · ·--------------------------------)
11

12

13· · · · · · ·DEPOSITION OF BENJAMIN SMITH

14· · · · · · · · · New York, New York

15· · · · · · ·Thursday, February 8, 2018

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17

18

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24· ·Reported by:
· · ·TAMI H. TAKAHASHI, RPR, CSR
25· ·JOB NO. J1400363


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·1
·2· ·B E N J A M I N· ·S M I T H, called as a
·3· · · ·witness, having been duly sworn by a
·4· · · ·notary public, was examined and testified
·5· · · ·as follows:
·6· · · · · · · · · · EXAMINATION
·7· ·BY MR. FRAY-WITZER:
·8· · · · Q.· ·Good morning.
·9· · · · A.· ·Good morning.
10· · · · Q.· ·Let me start by asking you if you
11· ·have ever been deposed before.
12· · · · A.· ·No, I haven't.
13· · · · Q.· ·Okay.· So I'm going to lay out for
14· ·you some of the ground rules of a deposition.
15· · · · · · ·The first thing is that I will ask
16· ·you a series of questions.· Hopefully you'll
17· ·give a series of answers.· All of your
18· ·answers need to be verbal so head nods,
19· ·um-hums, uh-uhs, can't be recorded accurately
20· ·by the transcriptionist, so I would ask that
21· ·if you're giving an answer -- yes-or-no
22· ·answer that you say "yes" or "no"; if it's a
23· ·longer answer, that you give your longer
24· ·answer but your answers be verbal.
25· · · · · · ·Is that okay?


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     GUBAREV vs BUZZFEED                                                      10

·1· · · · · · · · · · · · Smith
·2· · · · A.· ·What do you mean by "continuing
·3· ·education"?
·4· · · · Q.· ·Have you had taken any classes or
·5· ·courses?
·6· · · · A.· ·I took language courses at one
·7· ·point.
·8· · · · Q.· ·Where did you go after the
·9· ·Indianapolis Star?
10· · · · A.· ·Do you mean professionally?
11· · · · Q.· ·Yes.
12· · · · A.· ·To work for The Baltic Times.
13· · · · Q.· ·Where is The Baltic Times located?
14· · · · A.· ·In Riga, Latvia.
15· · · · Q.· ·How long were you at The Baltic
16· ·Times?
17· · · · A.· ·Less than a year.
18· · · · Q.· ·And what was your position with
19· ·The Baltic Times?
20· · · · A.· ·I was a reporter.
21· · · · Q.· ·Did you have any particular beat
22· ·with The Baltic Times?
23· · · · A.· ·No.
24· · · · Q.· ·Why did you choose to leave
25· ·The Baltic Times?


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·1· · · · · · · · · · · · Smith
·2· · · · A.· ·I was offered -- I was offered a
·3· ·string for The Wall Street Journal.
·4· · · · · · ·I'm sorry, for The Wall Street
·5· ·Journal Europe.
·6· · · · Q.· ·So to clarify, you were offered a
·7· ·position as a stringer working for The Wall
·8· ·Street Journal in Europe; is that correct?
·9· · · · A.· ·For The Wall Street Journal Europe.
10· · · · Q.· ·And were you covering any
11· ·particular type of story while you were a
12· ·stringer for The Wall Street Journal Europe?
13· · · · A.· ·Stories about Estonia, Latvia,
14· ·Lithuania and sometimes other countries in
15· ·the region.
16· · · · Q.· ·How long did you do that?
17· · · · A.· ·Between one year and two years.
18· · · · Q.· ·And did you leave The Journal or
19· ·did you take another position with
20· ·The Journal?
21· · · · A.· ·I took a job somewhere else.
22· · · · Q.· ·Okay.· Why did you decide to leave
23· ·The Journal?
24· · · · A.· ·It was right after 9/11 and I
25· ·wanted to go home.


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·1
·2· · · · · · · ·C E R T I F I C A T E
·3· ·STATE OF NEW YORK· · )
·4· · · · · · · · · · · · : ss.
·5· ·COUNTY OF NEW YORK· ·)
·6
·7· · · · · · ·I, TAMI H. TAKAHASHI, a Notary
·8· · · · Public within and for the State of New
·9· · · · York, do hereby certify:
10· · · · · · ·That BENJAMIN SMITH, the witness
11· · · · whose deposition is hereinbefore set
12· · · · forth, was duly sworn by me and that
13· · · · such deposition is a true record of the
14· · · · testimony given by the witness.
15· · · · · · ·I further certify that I am not
16· · · · related to any of the parties to this
17· · · · action by blood or marriage, and that I
18· · · · am in no way interested in the outcome
19· · · · of this matter.
20· · · · · · ·IN WITNESS WHEREOF, I have hereunto
21· · · · set my hand this 13th day of February
22· · · · 2018.
23
24· · · · · · · · · · · ·_____________________
25· · · · · · · · · · · ·TAMI H. TAKAHASHI


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